               Case 2:15-cr-00330-GW Document 237 Filed 04/23/18 Page 1 of 6 Page ID #:981

                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             LACR15-330 (A)-GW-5

 Defendant     Aharon Aron Krkasharyan                                       Social Security No. 1         4   3     3
       Krkasharyan, Aharon Aron; Akop, Krkasharyan
       Aharon; Krkasharyan, Agaron; Krkasharian,                             (Last 4 digits)
 akas: Aharon Akopovich

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.       April      16      2018

  COUNSEL                                                             Nareg Gourjian, Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Count (1) One: Conspiracy to Commit Health Care Fraud, in violation of 18 U.S.C. § 1349.

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed on Count
  ORDER              (1) One of the First Superseding Indictment to the custody of the Bureau of Prisons for a term of THIRTY-SIX (36) months.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid balance shall
be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $484,556 pursuant to 18 U.S.C. § 3663A.

Defendant shall pay restitution in the total amount of $484,556 to victims as set forth in a separate victim list prepared by the probation office
which this Court adopts and which reflects the Court's determination of the amount of restitution due to each victim. The victim list, which
shall be forwarded to the fiscal section of the clerk's office, shall remain confidential to protect the privacy interests of the victims.

The Court finds from a consideration of the record that the defendant's economic circumstances allow for restitution payments pursuant to the
following schedule: Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the
Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after release from custody,
monthly installments of at least $500 or 10% of the defendant’s gross monthly income shall be made during the period of supervised release.
These payments shall begin 30 days after the commencement of supervision.

The defendant shall be held jointly and severally liable with co-participants, Toros Onik Yeranosian, Oxana Loutseiko, Maria Espinoza, and
Christian Hernandez (Docket No. CR 15-330-GW) to the extent that said co-participants are determined liable for the same victim losses
ordered in this judgment. The victim’s recovery is limited to the amount of its loss and the defendant's liability for restitution ceases if and when
the victim receives full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability to pay
interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to pay and is not
likely to become able to pay any fine.




CR-104 (wpd 10/15)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 1 of 6
               Case 2:15-cr-00330-GW Document 237 Filed 04/23/18 Page 2 of 6 Page ID #:982

 USA vs.              Aharon Aron Krkasharyan                                  Docket No.:      LACR 15-330-GW-5

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years under the following terms and
conditions:

         1. The defendant shall comply with the rules and regulations of the United States Probation Office, General Order 05-02, and General
         Order 01-05, including the three special conditions delineated in General Order 01-05.

         2. The defendant shall not commit any violation of local, state, or federal law or ordinance.

         3. During the period of community supervision, the defendant shall pay the special assessment and restitution in accordance with this
         judgment's orders pertaining to such payment.

         4. The defendant shall not be employed in any position that requires licensing and/or certification by any local, state, or federal agency
         without the prior written approval of the Probation Officer.

         5. The defendant shall cooperate in the collection of a DNA sample from the defendant.

         6. The defendant shall apply all monies received from income tax refunds to the outstanding Court-ordered financial obligation. In
         addition, the defendant shall apply all monies received from lottery winnings, inheritance, judgments and any anticipated or
         unexpected financial gains to the outstanding Court-ordered financial obligation.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant poses a low risk of future
substance abuse.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at or before 12 noon, on June 15,
2018. In the absence of such designation, the defendant shall report on or before the same date and time, to the United States Marshal located at
the Roybal Federal Building, 255 East Temple Street, Los Angeles, California 90012.

The Court GRANTS the government’s motion to dismiss Counts two (2) through five (5) and the original initial Indictment, as to this
defendant only.

The defendant is advised of his right to appeal.

The Court recommends the Defendant be housed at the Bureau of Prison, Lompoc or a Southern California facility.

The bond shall be exonerated upon the defendants surrender to the Bureau of Prisons.




CR-104 (wpd 10/15)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 2 of 6
               Case 2:15-cr-00330-GW Document 237 Filed 04/23/18 Page 3 of 6 Page ID #:983

 USA vs.             Aharon Aron Krkasharyan                                 Docket No.:       LACR 15-330-GW-5




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            April 23, 2018
            Date                                                  Honorable George H. Wu
                                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            April 23, 2018                                  By    /s/ Javier Gonzalez
            Filed Date                                            Deputy Clerk




 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                             STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:

CR-104 (wpd 10/15)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 3 of 6
               Case 2:15-cr-00330-GW Document 237 Filed 04/23/18 Page 4 of 6 Page ID #:984

 USA vs.                Aharon Aron Krkasharyan                                    Docket No.:        LACR 15-330-GW-5


 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;




CR-104 (wpd 10/15)                                   JUDGMENT & PROBATION/COMMITMENT ORDER                                                             Page 4 of 6
               Case 2:15-cr-00330-GW Document 237 Filed 04/23/18 Page 5 of 6 Page ID #:985
             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).
       X

                 STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                        Page 5 of 6
               Case 2:15-cr-00330-GW Document 237 Filed 04/23/18 Page 6 of 6 Page ID #:986
 USA vs.                Aharon Aron Krkasharyan                                  Docket No.:      LACR 15-330-GW-5




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date




                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 10/15)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
